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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

RACHEL JUVERA

V.                                     4:04-CR-00147-10-WRW
                                       4:07-CV-00838-WRW

UNITED STATES OF AMERICA


                                              ORDER

       Pending is Petitioner’s Motion for Certificate of Appealability (Doc. No. 628).

       The standard for evaluating a certificate of appealability petition is established in

28 U.S.C. § 2253(c)(2): “A certificate of appealability may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right.” The Eighth Circuit has

explained that “[a] substantial showing is a showing that issues are debatable among reasonable

jurists, a court could resolve the issues differently, or the issues deserve further proceedings.”1

       Since Petitioner has not made a substantial showing of the denial of any constitutional

right, the Motion for Certificate of Appealability is DENIED.

       IT IS SO ORDERED this 21st day of April, 2008.

                                                       /s/ Wm. R. Wilson, Jr.____________
                                                       UNITED STATES DISTRICT JUDGE




       1
        Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997).

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